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 7
                                 UNITED STATES DISTRICT COURT
 8
                    IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     United States of America,                     )    Case No.: Cr.S-08-123-GEB
11                                                 )
                    Plaintiff,                     )    ORDER OR CONTINUANCE OF
12                                                 )    SENTENCING
            vs.                                    )
13                                                 )    Date: July 17, 2009
     Serafin Gonzalez,                             )    Time: 9:00 a.m.
14                                                 )    Judge: Hon. Garland E. Burrell, Jr.
                    Defendant                      )
15                                                 )
                                                   )
16                                                 )
                                                   )
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18          GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
19   sentencing in the above-captioned action is continued from July 17, 2009 at 9:00 a.m. to August
20
     14, 2009 at 9:00 a.m..
21
     IT IS SO ORDERED.
22

23   Dated: 7/15/09
                                                 GARLAND E. BURRELL, JR.
24                                               United States District Judge
25



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